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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Garland Burrell, Jr.
United States District Judge
Sacramento, California

                                          RE:    Kevin Douglas CHAO
                                                 Docket Number: 2:04CR00205-09
                                                 PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Honolulu, Hawaii. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On February 11, 2005, Mr. Kevin Chao was sentenced
for the offense of 21 USC 841(a)(1) and 860 - Distribution of Cocaine Base Within 1,000
Feet of an Elementary School.


Sentence imposed: 18 months Bureau of Prisons, 72 months supervised release, and
a $100 special assessment. Special conditions include: Warrantless search, correctional
treatment, drug testing, pager and cellular phone restrictions, co-payment plan, drug
offender registration, and cooperate with DNA collection.


Dates and Mode of Travel: Mr. Chao intends to leave for Hawaii on August 3, 2007, and
return on or about August 10, 2007. He is awaiting the Court's approval before he makes
his plane and hotel reservations.


Purpose: Vacation




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RE:   Kevin Douglas CHAO
      Docket Number: 2:04CR00205-09
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                                Respectfully Submitted,

                                   /s/ Kris M. Miura

                                   KRIS M. MIURA
                            United States Probation Officer

DATED:       May 8, 2007
             Sacramento, California
             KMM:jz


REVIEWED BY:         /s/ Kyriacos M. Simonidis
                     KYRIACOS M. SIMONIDIS
                     Supervising United States Probation Officer




ORDER OF THE COURT:

Approved      X                                Disapproved

Dated: May 9, 2007



                                      GARLAND E. BURRELL, JR.
                                      United States District Judge




                                                                                                         R ev. 05/2006
                                           2            T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
